             Case 1:18-cv-00555-BLW Document 47 Filed 05/03/19 Page 1 of 15



LAWRENCE G. WASDEN
ATTORNEY GENERAL

STEVEN L. OLSEN, ISB #3586
Chief of Civil Litigation

CYNTHIA YEE-WALLACE, ISB #6793
MEGAN A. LARRONDO, ISB #10597
Deputy Attorneys General
954 W. Jefferson Street, 2nd Floor
P.O. Box 83720
Boise, ID 83720-0010
Telephone:     (208) 334-2400
Facsimile:     (208) 854-8073
cynthia.wallace@ag.idaho.gov
megan.larrondo@ag.idaho.gov
        Attorneys for Defendants

                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF IDAHO

                                                         )
    PLANNED PARENTHOOD OF THE GREAT                      )   Case No. 1:18-cv-00555-BLW
    NORTHWEST AND THE HAWAIIAN                           )
    ISLANDS, a Washington corporation; MARY              )
    STARK, on behalf of herself and her patients,        )   REPLY TO PLAINTIFFS’
                                                         )   RESPONSE TO DEFENDANTS’
                         Plaintiffs,                     )   MOTION TO DISMISS
                                                         )
    v.                                                   )
                                                         )
    LAWRENCE G. WASDEN, et al.,                          )
                                                         )
                        Defendants.                      )

                                             I.      REPLY

         A. Mazurek establishes that Idaho’s physician-only laws1 are constitutional.

            Mazurek established a bright line rule that states may restrict the performance of

abortions to physicians. Mazurek v. Armstrong, 520 U.S. 968 (1997) (per curiam). Cases are not




1
    Idaho Code §§ 18–608A, 18–605(3).


REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS - 1
         Case 1:18-cv-00555-BLW Document 47 Filed 05/03/19 Page 2 of 15



decided in a vacuum. The underlying decisions and the briefing that the Court reviewed in

deciding Mazurek are highly relevant to understanding that decision. It is improper to urge this

Court to ignore the lower court’s decisions and the arguments to which the U.S. Supreme Court

was responding when it decided Mazurek.

       While the Ninth Circuit Court of Appeals in Mazurek did take issue with the district

court’s analysis of the legislative purpose behind the law, the fundamental issue Montana asked

the U.S. Supreme Court to review on certiorari was whether it was settled law that states could

limit the performance of abortions to physicians. (Dkt. 34–1 at pp. 9–10, 16–20.) Reading

Mazurek in complete context, the U.S. Supreme Court answered, “yes.”

       Plaintiffs further contend that the undue burden analysis is solely fact-driven, apparently

urging this Court to find that U.S. Supreme Court precedent has little to no value. This is plainly

incorrect. The U.S. Supreme Court itself relied extensively on its prior precedent in concluding

that Montana’s physician-only laws were permissible.2 See Mazurek, 520 U.S. at 971–76.

Further, in deciding Mazurek, the Court rejected the plaintiff’s fact-based argument that “‘all

health evidence contradicts the claim that there is any health basis’ for the law” with the

following response:

       But this line of argument is squarely foreclosed by Casey itself. In the course of
       upholding the physician-only requirement at issue in that case, we emphasized
       that “[o]ur cases reflect the fact that the Constitution gives the States broad
       latitude to decide that particular functions may be performed only by licensed
       professionals, even if an objective assessment might suggest that those same tasks
       could be performed by others.”


2
  Plaintiffs take issue with the U.S. Supreme Court’s reading of its own precedent, arguing that
these cases do not support the very proposition for which the U.S. Supreme Court cited them.
See Mazurek, 520 U.S. at 971–73 (citing Planned Parenthood of Se. Pa. v. Casey, 505 U.S. 833,
884–85 (1992); Akron v. Akron Ctr. for Reprod. Health, Inc., 462 U.S. 416, 447 (1983);
Connecticut v. Menillo, 423 U.S. 9, 11 (1975) (per curiam); Roe v. Wade, 410 U.S. 113, 165
(1973)) in support of the conclusion that states may restrict the performance of abortions to
physicians only).


REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS - 2
        Case 1:18-cv-00555-BLW Document 47 Filed 05/03/19 Page 3 of 15




Id. at 973 (quoting Casey, 505 U.S. at 885) (emphasis in original). In other words, the Court

disposed of a factual argument by reference to precedent.

       No matter how Plaintiffs try to slice it, the evidence and arguments before the Supreme

Court in Mazurek are substantially similar to those before this Court, or even more compelling.3

In Mazurek, physician’s assistant Susan Cahill had actually and safely performed first-trimester

abortions for years in Montana, and was being taken out of circulation by the physician-only

laws. Resp’ts’ Br. Opp’n at 3, Mazurek, 520 U.S. 968 (1997) (No. 96–1104), 1997 WL

33484620, at *3. Thus, access was arguably being reduced. Here, Plaintiffs are seeking to

expand access by adding to the pool of abortion providers. And, the evidence before the

Mazurek Court was that non-physicians could perform abortions as safely as physicians.

Armstrong v. Mazurek, 906 F. Supp. 561, 566 (D. Mont. 1995); Resp’ts’ Br. Opp’n at 7,

Mazurek, 520 U.S. 968 (1997) (No. 96–1104); (see Dkt. 1 ¶¶ 45–48.).

    B. Whole Woman’s Health did not overrule Mazurek.

       Plaintiffs also argue that Mazurek does not apply, asserting that the burdens of the

physician-only laws outweigh their medical benefits and citing the Supreme Court’s 2016

decision in Whole Woman’s Health v. Hellerstedt, — U.S. —, 136 S. Ct. 2292 (2016) (“WWH”).

(Dkt. 43 at 7–9.) Plaintiffs effectively argue the U.S. Supreme Court overruled its decision in

Mazurek with WWH. Plaintiffs are wrong.

       Nothing in WWH indicates that the decision was intended to overrule Mazurek, nor can




3
  The date that the FDA approved medication abortions is irrelevant to the fundamental factual
overlap between this case and Mazurek. (See Dkt. 33--1 at pp. 13–15.). Defendants also do not
concede the Plaintiffs’ argument that APCs have only recently come onto the scene as viable
first-trimester abortion providers. That said, Defendants accept this as true for the purposes of
the instant motion to dismiss.


REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS - 3
         Case 1:18-cv-00555-BLW Document 47 Filed 05/03/19 Page 4 of 15



WWH reasonably be read to eliminate the “substantial obstacle” and “undue burden” components

of the analysis established by Planned Parenthood of Southeastern Pa. v. Casey, 505 U.S. 833,

878 (1992) (Casey). The decision in WWH actually reaffirmed the undue burden standard

developed in Casey, which the U.S. Supreme Court applied in Mazurek. See June Med. Servs.

L.L.C. v. Gee, 905 F.3d 787, 803 (5th Cir. 2018) (petition for cert. filed, (U.S. April 19, 2019)

(No. 198-1323)). In fact, the very first sentence of WWH is

       In [Casey], a plurality of the Court concluded that there “exists” an “undue
       burden” on a woman’s right to decide to have an abortion, and consequently a
       provision of law is constitutionally invalid, if the “purpose or effect” of the
       provision “is to place a substantial obstacle in the path of a woman seeking an
       abortion before the fetus attains viability.”

WWH, 136 S. Ct. at 2299 (emphasis in original). The Court went on to “decide whether two

provisions of Texas’s House Bill 2 violate the Federal Constitution as interpreted in Casey.” Id.

(emphasis added).

       In WWH, the Court had not previously determined whether the types of regulations at

issue were substantial obstacles to a woman’s right to an abortion. As a result, the Court could

not rely on its prior precedent to short-cut its benefits versus burdens analysis to determine

whether the challenged regulations constituted a substantial obstacle. Here, the U.S. Supreme

Court has already stated on multiple occasions that physician-only laws are constitutionally

permissible. See Mazurek, 520 U.S. at 971–73 (citing Casey, 505 U.S. at 884–85; Akron, 462

U.S. at 447; Menillo, 423 U.S. at 11; Roe, 410 U.S. at 165).    Here, the impact of WWH is solely

to affirm that Mazurek remains good law. Nothing in WWH indicates that the Supreme Court

intended to completely upend decades of post-Casey precedent, as would be the case if Plaintiffs




REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS - 4
         Case 1:18-cv-00555-BLW Document 47 Filed 05/03/19 Page 5 of 15



are correct in their interpretation.4 As the U.S. Supreme Court has already concluded that

physician-only laws are constitutionally permissible, this Court need not apply the balancing test

detailed in WWH or give WWH further consideration.

    C. Even if this Court believes that WWH overruled Mazurek, only the U.S. Supreme
       Court may make that determination.

       Should this Court still have concerns that WWH overruled Mazurek, it is still bound to

follow Mazurek in deciding Defendants’ motion to dismiss. “[I]t is [the Supreme Court’s]

prerogative alone to overrule one of its precedents.” Bosse v. Oklahoma, — U.S. —, 137 S. Ct.

1, 2 (2016) (per curiam) (quoting United States v. Hatter, 532 U.S. 557, 567 (2001)). An attempt

by a lower court to overrule the U.S. Supreme Court’s precedent based on some sense that the

Court’s position has changed since an earlier ruling “would almost always be an impertinent and

futile adventure.” Cross v. Bruning, 413 F.2d 678, 680 (9th Cir. 1969); United States v. Johnson,

913 F.3d 793, 801 (9th Cir. 2019) (“this panel has no power to overrule circuit precedent, let

alone that of the Supreme Court.”)

       Lower courts “are bound to follow a controlling Supreme Court precedent until it is

explicitly overruled by that Court.” Nunez-Reyes v. Holder, 646 F.3d 684, 692 (9th Cir. 2011)

(emphasis added) (citation omitted); see also Luna v. Kernan, 784 F.3d 640, 649 (9th Cir. 2015).

“If a precedent of this Court has direct application in a case, yet appears to rest on reasons



4
  One of the reasons the Supreme Court follows its prior decisions under the doctrine of stare
decisis is to encourage interests of stability and judicial efficiency. Brandon J. Murrill, The
Supreme Court’s Overruling of Constitutional Precedent, Congressional Research Service, 6, 7
n.46 (updated September 24, 2016), https://fas.org/sgp/crs/misc/R45319.pdf (last visited May 1,
2019) (citing Benjamin N. Cardozo, The Nature of the Judicial Process 149 (1921) (“[T]he labor
of judges would be increased almost to the breaking point if every past decision could be
reopened in every case ... ”)). If WWH really undid the Casey undue-burden precedent to be
replaced by a factual balancing test, every single abortion-related regulation must now be
relitigated, from mandatory waiting periods to informed consent requirements to long recognized
reporting requirements.


REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS - 5
         Case 1:18-cv-00555-BLW Document 47 Filed 05/03/19 Page 6 of 15



rejected in some other line of decisions, the Court of Appeals should follow the case which

directly controls, leaving to [the Supreme Court] the prerogative of overruling its own

decisions.” Rodriguez de Quijas v. Shearson/Am. Exp., Inc., 490 U.S. 477 (1989). Because

Mazurek has direct application to Plaintiffs’ claims, this Court must apply it here.

   D. Plaintiffs seek to expand the right recognized in Roe beyond what is constitutionally
      permissible and thus they fail to state a claim upon which relief can be granted.

       In response to Defendants’ motion to dismiss, Plaintiffs incorrectly claim the cases cited

by Defendants, Maher v. Roe, 432 U.S. 464 (1977) and Harris v. McRae, 448 U.S. 297 (1980),

are “inapposite,” and thus inapplicable. Though the facts in Harris and Maher are different, the

legal reasoning squarely applies. The dispositive legal analysis in this case does not turn on the

government’s failure to act versus taking some affirmative action or whether the law is “neutral”

or “confer[s] a benefit.” (See Dkt. 43 at 13.) It turns on the nature and scope of the right

recognized in Roe v. Wade. The right recognized in Roe is not “expanded access” to early

abortions. Plaintiffs’ substantive due process violation claim is not cognizable and fails to state a

claim upon which relief can be granted.

       In Maher, the regulation at issue did not impose on the right recognized in Roe as it was

unlike regulations involving government compulsion. Here, this is similarly not a case where the

government passed a law that, for example, forces physicians to obtain admitting privileges at a

hospital, or requires abortion facilities to conform to the standards of a surgical center, with the

outcome of forcing the closure of over half the abortion clinics in a state, such as in WWH, 136

S. Ct. at 2296. Here, like in Maher, a woman still has the right to choose a pre-viability abortion.

Further, the laws do not restrict abortions to Mondays, Wednesdays and Thursdays. They do not

restrict abortions to facilities in Boise, Meridian, and Twin Falls. They do not restrict abortions

from occurring on nights and weekends. This is also not a case where the State has somehow


REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS - 6
         Case 1:18-cv-00555-BLW Document 47 Filed 05/03/19 Page 7 of 15



prohibited abortion access by, for example, banning a particular abortion method or prohibiting

the performance of abortions in medical emergencies without first obtaining parental consent,

such as in Stenberg v. Carhart, 530 U.S. 914, 938 (2000), and Ayotte v. Planned Parenthood of

Northern. New England, 546 U.S. 320, 327 (2006). Rather, this case is about expanding access

to abortion.

       Further, the regulation in Maher expressed Connecticut’s value judgment favoring

childbirth over abortion. 432 U.S. at 474. Connecticut allowed one thing, but not another:

payment for “medically necessary” abortions, but not for nontherapeutic abortions. Idaho too

has made a value judgment about the qualifications and standards applicable to individuals who

perform abortions. Idaho has profound respect for the life of the unborn. This respect is

evidenced by its requirement that only physicians should perform abortions which—unlike any

other medical procedure—involves the purposeful termination of a potential life. Harris, 448

U.S. at 325; Casey, 505 U.S. at 952. Idaho allows physicians to perform the unique act of

abortion, but not anyone else with no, lesser, or different qualifications. And, since no one other

than a physician has ever legally been allowed to perform abortions in the state of Idaho, the law

does not impose “a restriction on access to abortions that was not already there.” See Idaho Code

§§ 18–606; 18–608; Maher, 432 U.S. at 474. The physician-only law does not impinge on a

woman’s right to choose a pre-viability abortion.

       In Harris, plaintiffs challenged the Hyde Amendment. 448 U.S. at 300–01. The

Supreme Court relied on the reasoning in Maher, id. at 313–15, and held that a woman’s

freedom of choice does not carry with it a constitutional entitlement to the financial resources to

avail herself of the full range or protected choices and “does not confer an entitlement to such

funds as may be necessary to realize all of the advantages of that freedom,” id. at 316–18




REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS - 7
         Case 1:18-cv-00555-BLW Document 47 Filed 05/03/19 Page 8 of 15



(emphasis added). And, the government “need not remove” obstacles “not of its own creation.”

Id. at 316. This reasoning is equally applicable here.

       Plaintiffs claim that they are constitutionally entitled to have APCs perform abortions to

allow “expanded access” for early abortions six days per week, including nights and weekends.

(Dkt. 1 at 22 and ¶¶ 79, 81, 94, 96.) But the right to choose a pre-viability abortion does not

translate into an obligation on the State to change its standards to allow all APCs—or anyone

else—to perform abortions so that women can realize all of the advantages of their choice. See,

e.g., Webster v. Reprod. Health Servs., 492 U.S. 490, 507–08 (1989) (citing DeShaney v.

Winnebago Cty. Dep’t of Soc. Servs., 489 U.S. 189, 196 (1989)). Plaintiffs’ substantive due

process claim is defective at a basic level because it goes beyond the right recognized in Roe and

reaffirmed in Casey. Defendants’ motion to dismiss should be granted.

    E. In the alternative, even if the above arguments are not dispositive, Plaintiffs’
       substantive due process claim should still be dismissed because it is not plausible.

       1. Plaintiffs have not pled a viable due process violation because the alleged
          obstacles are not substantial on their face.

       Even assuming that Mazurek does not dispose of Plaintiffs’ substantive due process claim

and assuming the right recognized in Roe entitles Plaintiffs to the relief they seek, Plaintiffs’

Complaint still does not survive a motion to dismiss. This is because the alleged obstacles pled

in the Complaint are not “substantial” on their face.5

       Plaintiffs incorrectly assert that WWH established “when a law fails to confer ‘benefits

sufficient to justify the burdens,’ those burdens are ‘undue,’ and thus unconstitutional.” (Dkt. 43

at 15 (quoting WWH, 136 S. Ct. at 2300).) This is a misreading of WWH. As discussed above,




5
 Plaintiffs’ reading of Mazurek concedes that U.S. Supreme Court precedent establishes the
physician-only laws were not enacted for an improper purpose. (See Dkt. 43.)


REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS - 8
         Case 1:18-cv-00555-BLW Document 47 Filed 05/03/19 Page 9 of 15



WWH did not purport to change—nor did it change—the undue burden standard established by

Casey. It merely reinforced Casey’s undue burden analysis and addressed how the court must

evaluate the evidence in determining whether the health regulation constitutes a substantial

obstacle and an undue burden. See WWH, 136 S. Ct., at 2300, 2309, 2311.

       But as Casey established decades ago, not just any burden is sufficient to result in a

constitutional injury. See Casey, 505 U.S. at 874 (“[T]he incidental effect of making it more

difficult or more expensive to procure an abortion cannot be enough to invalidate it. Only where

state regulation imposes an undue burden on a woman’s ability . . . does the . . . State reach into

the heart of the liberty protected by the Due Process Clause.”). WWH is therefore properly read

to establish that “even regulations with a minimal benefit are unconstitutional only where they

present a substantial obstacle to abortion.” June Med. Servs., L.L.C., 905 F.3d at 803. “A

minimal burden even on a large fraction of women does not undermine the right to abortion.” Id.

In other words, even if the benefits outweigh the burdens, the asserted burdens must still be a

substantial obstacle to render a law unconstitutional. Any other reading “would neuter Casey,

and any reasonable reading of WWH shows that the Court only reinforced what it had said in

Casey.” Id.

       Further, WWH suggests that even a law that lacks or has few medical benefits could still

be found constitutionally permissible if the burdens it imposes are themselves negligible.

“[U]nder the undue burden standard a State is permitted to enact persuasive measures which

favor childbirth over abortion, even if those measures do not further a health interest.” 505 U.S.

at 886 (emphasis added). When read carefully, the Court in WWH struck down the Texas laws

because the burdens imposed by the laws constituted substantial obstacles to a woman’s right to

obtain an abortion and the burdens heavily outweighed any medical benefits. The substantial




REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS - 9
        Case 1:18-cv-00555-BLW Document 47 Filed 05/03/19 Page 10 of 15



nature of the obstacles that the Court found to have been imposed by the Texas laws in WWH are

consistent with the Court’s post-Casey precedent. See Gonzales v. Carhart, 550 U.S. 124, 156,

164, 166, 168 (2007) (partial-birth abortion ban not an undue burden); Stenberg, 530 U.S. at

945–46 (a law that could be read as prohibiting the most commonly used method of performing

previability second trimester abortions imposed an undue burden); Mazurek, 520 U.S. at 974–75.

This is far from the simplistic analysis Plaintiffs assert.

        In this case, even assuming for the purposes of this motion to dismiss that the physician-

only laws have little to no medical benefit,6 and that these laws caused the obstacles Plaintiffs

assert,7 the asserted obstacles do not amount to a constitutionally injurious substantial obstacle to

a woman’s right to obtain an abortion as pled.

        Plaintiffs allege that the physician-only laws prevent Planned Parenthood from offering

medication and aspiration abortions on evenings and weekends, which can cause a one week

delay for women seeking those types of abortions, potentially moving them from a medication to

an aspiration abortion. (Id. ¶¶ 79, 81, 87-91.) Plaintiffs also assert that women seeking

aspiration and medication abortions in Idaho face the substantial obstacles of lengthy travel time

and the associated expenses of time off work, transportation and childcare. (Id. ¶¶ 72–78.)

But making abortions only available at the times almost all other medical procedures are

routinely available, i.e. during the workweek, cannot possibly be a substantial obstacle.

Plaintiffs make their case on the safety and minimal invasiveness of medication and aspiration

abortions, so the possibility that a one week delay might mean a woman must have an aspiration

abortion instead of a medication abortion cannot constitute a substantial obstacle. (See Dkt. 1, at



6
 Defendants do not concede this point.
7
 Defendants do not concede this point and, as discussed below, Plaintiffs have even not
adequately pled a causal link in this matter sufficient to meet notice pleading standards.


REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS - 10
        Case 1:18-cv-00555-BLW Document 47 Filed 05/03/19 Page 11 of 15



¶¶ 17-23.) Finally, neither driving distance, nor the associated burdens of travel, constitute

substantial obstacles based on the facts Plaintiffs have pled, without more. See WWH, 136 S. Ct.

at 2313; Casey, 505 U.S. at 886. For purposes of this motion, even if the allegations in the

Complaint are taken as true, Plaintiffs have failed to state a claim upon which relief can be

granted because the obstacles they allege are not “substantial” on their face.

       2. Plaintiffs have not pled sufficient facts that the physician-only laws caused the
          alleged obstacles at issue here.

       If the Court rejects Defendants’ arguments above, Plaintiffs’ Complaint should still be

dismissed because they have not sufficiently pled how the physician-only laws caused the

obstacles they allege. Plaintiffs argue that they only have to plead that the law “burdens access

to care” in a “real world context” in order to survive a motion to dismiss. (Dkt. 43 at 14.) But

Plaintiffs must do more. They must plead facts sufficient to plausibly allege causation.

       In order for a law to constitute an undue burden, Plaintiffs must prove that the law caused

the burden complained of. See WWH, 136 S. Ct. at 2313. Plaintiffs don’t allege any facts about

how or why the physician-only laws are the reason that there are no publicly accessible clinics in

Idaho offering evening or weekend appointments. And they fail to cite any facts about how or

why the physician-only laws cause Planned Parenthood’s scheduling delays. Plaintiffs have

merely offered conclusory allegations and, in so doing, failed to plausibly plead causation. See

A.G. ex rel. Maddox v. Elsevier, Inc., 732 F.3d 77, 82 n.2 (1st Cir. 2013) (“the plausibility

standard applies with undiminished force to allegations of causation”). And because the

physician-only laws went into effect almost 20 years ago, it is even more implausible that the

physician-only laws are the cause of Plaintiffs’ current scheduling issues.8



8
 Plaintiffs misunderstand Defendants’ argument when they assert that Defendants argue that a
20 year-old law is somehow immune from challenge. (Dkt. 43 at 26–27.) Defendants merely


REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS - 11
        Case 1:18-cv-00555-BLW Document 47 Filed 05/03/19 Page 12 of 15



       To be clear, Defendants have not argued that Planned Parenthood should mitigate its

scheduling issues by “making different business decisions.” (Dkt. 43 at 15.) The point here is

that the State is not constitutionally required to fix Planned Parenthood’s scheduling issues by

allowing APCs to perform abortions so that they are more readily available in Idaho. Plaintiffs

have failed to allege sufficient facts regarding causation. Defendants’ motion to dismiss should

be granted.

   F. Plaintiffs’ equal protection claim should be dismissed.

       Because the physician-only laws do not impinge on a woman’s ultimate right to choose a

pre-viability abortion, there is no need to resolve whether the law infringes a fundamental right for

equal protection purposes. Harris, 448 U.S. at 312, 322. However, even if the Court reaches

Plaintiffs’ equal protection claim, it fails to state a claim upon which relief can be granted. The

Equal Protection Clause of the Fourteenth Amendment “confers no substantive rights and

creates no substantive liberties.” San Antonio Indep. Sch. Dist. v. Rodriguez, 411 U.S. 1, 59

(1973) (footnote omitted). “The function of the Equal Protection Clause, rather, is to simply

measure the validity of classifications created by state laws.” Id. States are afforded “wide

scope of discretion in enacting laws which affect some groups of citizens differently than

others.” McGowan v. Maryland, 366 U.S. 420, 425 (1961). Equal protection analysis requires

strict scrutiny of a legislative classification only when the classification impermissibly interferes

with the exercise of a fundamental right or operates to the peculiar disadvantage of a suspect

class. Massachusetts Bd. of Ret. v. Murgia, 427 U.S. 307, 312 (1976).

       The physician-only laws do not involve fundamental rights. They permit physicians to



contend that, when Plaintiffs are asserting a causal link between a 20 year-old law and their
current scheduling difficulties, they must plead something more than just the conclusory
allegations they have offered.


REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS - 12
        Case 1:18-cv-00555-BLW Document 47 Filed 05/03/19 Page 13 of 15



perform abortions, but no one else. There is no fundamental right to perform an abortion.

Tucson Woman’s Clinic v. Eden, 379 F.3d 531, 547 (9th Cir. 2004). Similarly, there is no

suspect class at issue in this case, and thus the physician-only laws are subject to rational basis

review. “[R]ational-basis review in equal protection analysis is not a license for courts to judge

the wisdom, fairness, or logic of legislative choices.” Heller v. Doe by Doe, 509 U.S. 312, 319

(1993) (citations omitted) (internal quotation marks omitted). “[A] classification neither

involving fundamental rights nor proceeding along suspect lines is accorded a strong

presumption of validity.” Id. at 319-20 (citations omitted). “Such a classification cannot run

afoul of the Equal Protection Clause if there is a rational relationship between the disparity of

treatment and some legitimate governmental purpose.” Id. at 320 (citations omitted). “Further, a

legislature that creates these categories need not actually articulate at any time the purpose or

rationale supporting its classification.” Id. (citations omitted) (internal quotation marks omitted).

Instead, a classification must be upheld against equal protection challenge if there is any

reasonably conceivable state of facts that could provide a rational basis for the classification.”

Id. (citations omitted) (internal quotation marks omitted). “A State, moreover, has no obligation

to produce evidence to sustain the rationality of a statutory classification.” Id. (citations

omitted). “[A] legislative choice is not subject to courtroom factfinding and may be based on

rational speculation unsupported by evidence or empirical data.” Id. (alteration in original)

(citations omitted).

       In this case, it is unclear where Plaintiffs are attempting to steer the Court with respect to

their equal protection claim,9 but no suspect class is at issue here. Physicians and APCs are not a



9
 At one point, Plaintiffs appear to argue that the laws are gender-based classifications. But the
physician-only laws are gender-neutral on their face and abortion regulations do not discriminate
based on gender. Plaintiffs may be attempting to argue that the law constitutes an unlawful


REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS - 13
        Case 1:18-cv-00555-BLW Document 47 Filed 05/03/19 Page 14 of 15



suspect class, and neither are pregnant women who seek abortions. Tucson Woman’s Clinic, 379

F.3d at 547; and see e.g. Maher, 432 U.S. at 470. Plaintiffs’ equal protection claim also fails

because APCs are not similarly situated with physicians, for the reasons previously argued.

(Dkt. 33-1 at 26-27.) And because no suspect class is involved here, the physician-only laws are

subject to rational basis review, which they pass. The physician-only laws are entitled to a

presumption of validity. The laws are rationally related to the State’s interest in ensuring that

abortions are performed safely, and they further that interest by setting the standard applicable to

individuals who perform this unique act. The law also creates the structural mechanism that

expresses the State’s profound respect for potential life. On its face, the law passes rational basis

review and Plaintiffs’ equal protection claim should be dismissed.

       DATED: May 3, 2019.

       STATE OF IDAHO
       OFFICE OF THE ATTORNEY GENERAL


       By: /s/ Cynthia Yee Wallace                    By /s/ Megan A. Larrondo
             CYNTHIA YEE-WALLACE                             MEGAN LARRONDO
             Deputy Attorney General                         Deputy Attorney General




pregnancy-based distinction, but if so, their argument fails. Though Plaintiffs’ goal is to
convince the Court to nullify the point, they cannot get around the fact that the U.S. Supreme
Court recognizes that abortion is not like any other medical procedure. Harris, 448 at 325;
Casey, 505 U.S. at 952. Terminating a potential life is not similar to performing a colonoscopy.
Thus, it cannot be said that restricting the performance of abortions to only physicians, without
more, is in and of itself an unlawful pregnancy-based distinction.



REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS - 14
       Case 1:18-cv-00555-BLW Document 47 Filed 05/03/19 Page 15 of 15



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 3, 2019, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent a Notice of Electronic Filing to the
following persons:

      Nicole Hancock                               Alice Clapman
      nicole.hancock@stoel.com                     alice.clapman@ppfa.org

      Hannah Brass Greer                           Kim C. Clark
      hannah.brassgreer@ppgnhi.org                 kclark@legalvoice.org

      Vanessa Soriano Power                        Jill D. Bowman
      vanessa.power@stoel.com                      jill.bowman@stoel.com

      S. Julia Collier
      julia.collier@stoel.com

                                                  /s/ Cynthia Yee-Wallace
                                                 CYNTHIA YEE-WALLACE
                                                 Deputy Attorney General




REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS - 15
